         Case 1:17-cv-01154-EGS Document 64 Filed 02/01/19 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et
 al.,

                        Plaintiffs,
                                                    No. 17-cv-1154-EGS
                v.

 DONALD J. TRUMP, in his official
 capacity as President of the United States,

                        Defendant.



              DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant Donald J. Trump, President of the United States, hereby provides notice of a

report by the General Services Administration’s Office of Inspector General titled Evaluation of

GSA’s Management and Administration of the Old Post Office Building Lease, which is also the

subject of Plaintiffs’ recent Notice of Supplemental Authority. See Exhibit A; ECF No. 63-1.

       As noted in the Report, the GSA Inspector General has conducted an “evaluation of

GSA’s management and administration of GSA’s ground lease of the Old Post Office Building

(OPO),” which houses the Trump International Hotel (the “Hotel”). The Report “focus[ed] on
GSA’s decision-making process for determining whether the President’s election caused [the

Hotel] to be in breach of the lease upon the President’s inauguration.” Id. at 1. As relevant

here, the Inspector General “did not seek to determine whether the President’s interest in the

hotel violates either the [Foreign or Domestic] Emoluments Clauses or Section 37.19 of the

lease.” Id. Instead, as part of her investigation into the agency’s decision-making process, the

Inspector General considered whether “the Emoluments Clauses might apply to the benefits a

government officer or employee receives from private business activities.” Id. at 10. On that

question, the Inspector General “found evidence that the term [“emolument”] had varied


                                                1
          Case 1:17-cv-01154-EGS Document 64 Filed 02/01/19 Page 2 of 4




meanings at the time of the Constitution’s adoption and ratification,” id. at 11, including

“evidence that the term ‘emolument’ as used historically and today includes the gain from

private business activities,” id. at 16.

        Contrary to Plaintiffs’ assertion, see Pls.’ Notice at 2, the Inspector General’s conclusion

is not inconsistent with the President’s interpretation of the Foreign Emoluments Clause, the only

Clause at issue in this case. The President recognizes that multiple definitions for the term

“emolument” existed at the founding. And interpreting the term “emolument” in context, the

President similarly acknowledges that receipt of benefits from a covered official’s private

business activities could violate the Clause if those benefits derived from a covered official’s

personal service in an employment (or equivalent) relationship with a foreign government.

Benefits from the GSA lease are not such benefits. Moreover, while the Inspector General has

broadly construed the GSA lease to incorporate the Constitution—reasoning that all federal

agencies, including GSA, have an obligation to uphold and enforce the Constitution—the lease

itself, particularly Section 37.19 of the lease, does not expressly call for a constitutional analysis

of the Emoluments Clauses. GSA’s inquiry in administering the lease concerned whether

Section 37.19 of the lease prohibited the President, as an elected official, from continuing to hold

an interest in the Hotel.

        Accordingly, the Court need not and should not defer to the tentative interpretation of

GSA’s Inspector General, who has no apparent expertise in interpreting or applying the Foreign

Emoluments Clause, and who did not purport to review the complete set of historical and legal

materials presented in this case. The Court should instead render its decision based on its own

consideration of those materials, which demonstrate that the President’s interpretation of the

Foreign Emoluments Clause is correct and that this case should be dismissed. 1


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  Plaintiffs also include a footnote in their notice of supplemental authority containing several
asserted “reports” of additional “possible foreign emoluments accepted by the President.” Pls.’
Notice at 2 n.1. The Court should ignore Plaintiffs’ attempt, without seeking leave to amend
their complaint, to shoehorn in these additional allegations through what is in effect an


                                                  2
         Case 1:17-cv-01154-EGS Document 64 Filed 02/01/19 Page 3 of 4




Dated: February 1, 2019                           Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     BRETT A. SHUMATE
                                                     Deputy Assistant Attorney General

                                                     JENNIFER D. RICKETTS
                                                     Director, Federal Programs Branch

                                                     ANTHONY J. COPPOLINO
                                                     Deputy Director

                                                     /s/ Jean Lin
                                                     JEAN LIN
                                                     Special Counsel
                                                     JAMES R. POWERS
                                                     BRADLEY HUMPHREYS
                                                     Trial Attorneys
                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street, NW
                                                     Washington, DC 20005
                                                     Phone: (202) 514-3716
                                                     Fax: (202) 616-8202
                                                     Email: jean.lin@usdoj.gov




improperly filed sur-reply without leave. The footnoted allegations are not in the Amended
Complaint, have nothing at all to do with the supplemental authority, and are based on unverified
third-party articles, most of which are six months to over a year old.
         In any event, none of the footnoted “reports” refers to an “Emolument” prohibited by the
Foreign Emoluments Clause under Defendant’s interpretation. All of the new purported
allegations at most concern possible transactions between foreign governments and businesses
affiliated with the President in some manner, not any transaction involving an exchange for
personal services by the President in his official capacity or in a capacity akin to an employee of
a foreign state. Plaintiffs’ footnote does not provide any basis to deny Defendant’s motion to
dismiss.
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          Case 1:17-cv-01154-EGS Document 64 Filed 02/01/19 Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2019, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.
                                                    /s/ Jean Lin
                                                    JEAN LIN
